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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 20-MJ-3916-MCALILEY

  UNITED STATES OF AMERICA,

                Plaintiff,

  v.

  SAMUEL T. JOHNSON,

             Defendant.
  ______________________________

                                    DETENTION ORDER

         Pursuant to 18 U.S.C. § 3142(f), on November 4, 2020, a hearing was held to

  determine whether defendant, SAMUEL T. JOHNSON, should be detained prior to trial.

  Having considered the factors enumerated in 18 U.S.C. § 3142(g), this Court finds that no

  condition or combination of conditions will reasonably assure the appearance of this

  defendant as required. Therefore, it is hereby ordered that the defendant SAMUEL T.

  JOHNSON be detained prior to trial and until the conclusion thereof.

         In accordance with the provisions of 18 U.S.C. § 3142(i), the Court hereby makes

  the following findings of fact and statement of reasons for the detention:

         1. The defendant is charged by indictment in the Western District of Pennsylvania

  with conspiracy to commit wire fraud in violation of Title 18 , United States Code, Section

  1349 and conspiracy to commit money laundering in violation of Title 18, United States

  Code, Section 1956(h).

         2. The weight of the evidence against the defendant is substantial. The government
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  has proffered that the defendant was involved in a scheme which resulted in the fraudulent

  acquisition of thousands of cell phone devices worth over $3 million. The devices were

  sent to various retailers throughout the country. The defendant traveled to 21 states to

  collect the devices.

         The devices were then sold generating significant profits for the defendant and his

  co-conspirators. The defendant and his co-conspirators used 13 different bank accounts.

  Approximately $813,000 were deposited into these accounts and funds from these

  accounts were used to support the scheme.

         In furtherance of the scheme, the defendant obtained 24 false forms of

  identification. Ten of these identification cards were in the defendant’s own name, but

  contained false information and 14 were in the defendant’s brother’s name.

         Law enforcement officers found approximately $619,000 in cash at the defendant’s

  residence during the execution of a search warrant. The government has not recovered all

  of the money generated by the scheme. The defendant told law enforcement that his

  brother had nothing to do with the scheme and said, “this is all me.”

          3. The pertinent history and characteristics of the defendant support pretrial

  detention. The defendant was born on March 21, 1990 in New York, New York. The

  defendant has extensive foreign travel. The defendant had two prior fraud convictions and

  is facing a term of imprisonment of five to six years if convicted in the instant case.

         4. The Court specifically finds, that there are no conditions or combination of

  conditions which reasonably will assure the defendant's appearance as required. The

  defendant faces a substantial prison sentence if convicted of the instant offense.

  Additionally, the defendant has access to significant funds and has demonstrated that he is
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  capable of obtaining false identifications which he could use to flee. Based upon the above

  findings of fact, which were supported by a preponderance of the evidence, the Court has

  concluded that this defendant presents a risk of flight and should be held without bond.

         The Court hereby directs:

                (a) That the defendant be committed to the custody of the Attorney General

  for confinement in a corrections facility separate, to the extent practical, from persons

  awaiting or serving sentences or being held in custody pending appeal;

                (b) That the defendant be afforded reasonable opportunity for private

  consultation with counsel; and

                (c) That, on order of a court of the United States or on request of an attorney

  for the Government, the person in charge of the corrections facility in which the defendant

  is confined deliver the defendant to a United States Marshal for the purpose

  of an appearance in connection with a court proceeding.

          DONE AND ORDERED at Miami, Florida, this 5th day of November, 2020.




                                     _______________________________________
                                     JOHN J. O'SULLIVAN
                                     CHIEF UNITED STATES MAGISTRATE JUDGE
